Case 2:11-cr-20129-RHC-EAS ECF No. 627, PageID.2285 Filed 06/28/13 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES,

       Plaintiff,
                                                      Case No.       11-20129
v.

SALVATORE BATTALGLIA (D-33),

       Defendant.
                                           /

     OPINION AND ORDER DENYING DEFENDANT’S “MOTION TO RECONSIDER
        PRETRIAL DETENTION IN LIGHT OF CHANGED CIRCUMSTANCES”

       Defendant Salvatore Battalgia is a former, and perhaps current, member of the

Devils Diciples Motorcycle Club. He stands accused of conspiracy to manufacture,

distribute, and possess with intent to distribute controlled substances. A magistrate

judge ordered him detained pending trial on July 16, 2012, and this court agreed at a

hearing on August 8, 2012. Request for bond was denied both times. He moves to

reconsider pretrial detention, and the Government responds. No additional hearing is

needed.

       Pre-trial detention protects the community from a dangerous defendant and

assures the presence at trial of a defendant who might otherwise disappear. 18 U.S.C.

§ 3142(e)(1). A defendant may be detained if, in light of an array of factors, id.

§ 3142(g), either clear and convincing evidence shows he is dangerous or a

preponderance of the evidence suggests he is inclined to flee, id. § 3142(f)(2)(B);

United States v. Hinton, 113 F.App’x 76 (6th Cir. 2004). Here, however, there exists a

presumption in favor of detention because a grand jury indicted Defendant for a drug
Case 2:11-cr-20129-RHC-EAS ECF No. 627, PageID.2286 Filed 06/28/13 Page 2 of 4




offense punishable by ten or more years in prison. 18 U.S.C. § 3142(e)(3)(A); United

States v. Stone, 608 F.3d 939, 945-46 (6th Cir. 2010).

       The third superceding indictment catalogues the Devils Diciples’s alleged history

of crime and mayhem, including murder, kidnaping, assault, intimidation, gunrunning,

theft, robbery, perjury, destruction of evidence, other obstruction, and, above all else,

extensive and sophisticated drug production, transportation, and distribution. (11-

20129, Dkt. # 72 at 15-50.) Defendant’s membership, even by itself, constitutes strong

circumstantial evidence of dangerousness. (See Order, Dkt. # 543 at 2 & n.1.)

Moreover, Congress has declared that a drug dealer is typically dangerous—“run-of-

the-mill” drug dealers “routinely” remain detained until trial, Stone, 608 F.3d at 947. He

poses a clear danger to the community.

       Defendant argues that new information now exists to justify revisiting the

propriety of continued detention.

       A detention hearing may be reopened if 1) new information exists that was
       unknown to the movant at the time of the hearing; and 2) the new
       information has a material bearing on the issue of whether there are
       conditions of release that will reasonably assure a defendant's
       appearance at trial and the safety of any other person in the community.

United States v. Watson, 475 F. App’x 598, 600 (6th Cir. 2012) (citing 18 U.S.C. §

3142(f)(2)(B)). “In other words, the new information must be of a nature that would

increase the likelihood that the defendant will appear at trial and would show that the

defendant is less likely to pose a danger to the community.” Id.

       Defendant argues that changed circumstances exist in his physical and

emotional health, and that previous descriptions of his conduct in his divorce

proceedings were exaggerated and unfair. The court disagrees. First, the court

                                             2
Case 2:11-cr-20129-RHC-EAS ECF No. 627, PageID.2287 Filed 06/28/13 Page 3 of 4




previously considered Defendant’s emotional and physical conditions. While they are

unfortunate, they are not new conditions that decrease the likelihood of flight or danger

to the community. As the Government points out, his medical issues do not prevent him

from relying on the national network of members in his motorcycle club to aid his flight

or further criminal activity. Further, the indicators of dangerousness in Defendant’s case

were particularly strong and, contrary to Defendant’s contention, remain so.

      Defendant argues that his conduct in his divorce proceedings was exaggerated

to suggest dangerousness and offers the affidavit of Steven Simasko, Defendant’s ex-

wife’s divorce attorney. This affidavit, however, hardly supports Defendant’s

contentions. Instead, Mr. Simasko simply states that he has no objection to the court

considering Defendant’s release, and that Defendant “regrets” and “has apologized” for

his prior behavior toward his ex-wife and toward Mr. Simasko’s office. That Defendant

has now expressed regret, however, does not mean Mr. Simasko has recanted any of

prior descriptions of Defendant’s behavior. At the previous hearing, the court received

significant evidence regarding the allegations of abuse perpetrated on Valentina

Battaglia by Defendant and threats made by Defendant against Mrs. Battaglia, her

family members, and her attorney. Such evidence included photographs, a personal

order of protection secured against Defendant, evidence from Mr. Simasko’s office

regarding the statements he made to them, and evidence regarding the statements

Defendant made to Mrs. Battaglia that, among other things, he was going to “fuck your

sister,” “have someone fuck you up,” and that “you don’t want any harm to come to your

grand-daughter.” (Gov’t’s Proffer, Dkt. # 115 at 7.) This evidence of substantial



                                            3
Case 2:11-cr-20129-RHC-EAS ECF No. 627, PageID.2288 Filed 06/28/13 Page 4 of 4




propensity toward dangerousness remains untouched by any “new” evidence now

offered by Defendant regarding his medical condition or his remorse.

          The court finds by clear and convincing evidence that Defendant presents both a

danger to the community and a risk of flight. Accordingly,

          IT IS ORDERED that the motion to reconsider pretrial detention [Dkt. # 561] is

DENIED.


                                                               s/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE

Dated: June 28, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, June 28, 2013, by electronic and/or ordinary mail.

                                                               s/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




S:\Cleland\JUDGE'S DESK\C3 ORDERS\11-20129.BATTAGLIA.MotRevokeDet.chd..wpd

                                                                   4
